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12
                              UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
13

14
     PACIFIC COAST FEDERATION OF                     Case No. 1:20-cv-00431-DAD-EPG
15
     FISHERMEN’S ASSOCIATIONS, et al.,
                                                     PLAINTIFFS’ RESPONSE TO
16
                       Plaintiffs,                   SACRAMENTO RIVER INTERVENORS’
                                                     OBJECTIONS TO EVIDENCE CITED IN
17
              v.                                     PLAINTIFFS’ OPPOSITION TO
                                                     FEDERAL DEFENDANTS’ MOTION FOR
18
     GINA RAIMONDO, in her official                  VOLUNTARY REMAND WITHOUT
     capacity as Secretary of Commerce, et al.,      VACATUR AND PLAINTIFFS’ MOTION
19
                                                     FOR PRELIMINARY INJUNCTION FOR
                       Defendants.                   2022 (DKT. 327)
20
                                                     Hearing date: February 11, 2022
21
                                                     Judge: Hon. Dale A. Drozd
22
                                                     Courtroom 5, 7th Floor
                                                     2500 Tulare Street
23
                                                     Fresno, California 93721
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                          PLS.’ RESPONSE TO SAC. RIVER INTERVENORS’ OBJECTIONS TO EVIDENCE
                                                              CASE NO. 1:20-CV-00431-DAD-EPG
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 1          The two evidentiary objections filed by Intervenor-Defendants Reclamation District No.

 2   108, et al., and Glenn Colusa Irrigation District, et al. (the “SRS Contractors”), and the Tehama-

 3   Colusa Canal Authority (collectively, the “Sacramento River Intervenors” or “SR Intervenors”),

 4   with respect to the expert declaration of Dr. Jonathan A. Rosenfield, Dkt. 327, are without merit

 5   and should be overruled.

 6          Dr. Rosenfield’s supplemental expert declaration submitted in support of Plaintiffs’ motion

 7   for a preliminary injunction for 2022, Dkt. 325 (“Supp. Rosenfield Decl.”), is clearly admissible

 8   and directly relevant to the questions of what irreparable harm is likely to befall the endangered

 9   and threatened species of fish at issue in the case before a full resolution of the merits of Plaintiffs’

10   claims is possible. Remarkably, SR Intervenors continue to object to Dr. Rosenfield’s

11   consideration of NMFS’ 2017 draft Shasta RPA Amendment. Dkt. 327 at 5. However, the 2017

12   draft Shasta RPA Amendment is part of the administrative record in this case, see Dkt. 308; Dkt.

13   306-1, and is admissible as the admission of a party opponent, Fed. R. Evid. 801(d)(2)(D).

14          Further, SR Intervenors’ suggestion that Dr. Rosenfield, as an expert with vast experience

15   studying the effects of Water Project operations on fish populations, cannot consider public

16   documents regarding Water Project operations in forming his opinion, is wholly without merit.

17   Dr. Rosenfield certainly qualifies as an expert with specialized knowledge of these imperiled fish

18   species and the effects of Water Project operations on the fish populations. See Dkt. 82, ¶¶2–5,

19   Exh. A; Fed. R. Evid. 701, 702. Moreover, even if SR Intervenors could make out a valid concern

20   with respect to Dr. Rosenfield’s expertise (they cannot), such objections go to the weight accorded

21   to Dr. Rosenfield’s testimony, rather than to admissibility. See S. Yuba River Citizens League v.

22   Nat’l Marine Fisheries Serv., 257 F.R.D. 607, 616 (E.D. Cal. 2009).

23          In addition to their narrative objections, SR Intervenors make objections to individual

24   paragraphs of Dr. Rosenfield’s declaration. Those objections should be overruled for the

25   following reasons.

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                            PLS.’ RESPONSE TO SAC. RIVER INTERVENORS’ OBJECTIONS TO EVIDENCE
                                                      1                CASE NO. 1:20-CV-00431-DAD-EPG
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 1    Material        Grounds for Objection          Plaintiffs’ Response to Objection        Ruling
      Objected
 2                        (as stated by SR
        To
                            Intervenors)
 3
     Supp.         FRE 701, 702.                     SR Intervenors object to three         □ Sustained
 4   Rosenfield                                      paragraphs of Dr. Rosenfield’s
     Decl. ¶¶33,   Dr. Rosenfield is a biologist.    declaration and assert that he         □ Overruled
 5   41–42         Rosenfield Decl. ¶ 1. He does     should not be permitted to rely on
                   not demonstrate any               Federal Defendants’ modeling and
 6                 qualification to opine on the     should not be allowed to explain
 7                 accuracy and sufficiency of       that this modeling indicates that
                   temperature models or the         “releasing more water during the
 8                 interpretation of model results   spring and summer” would result
                   and their application to water    in higher in-stream temperatures
 9                 resource management.              and higher temperature-dependent
                                                     mortality of winter-run Chinook
10                 Nevertheless, Dr. Rosenfield      salmon. SR Intervenors fail to
11                 specifically opines on            identify any technical expertise
                   temperature modeling,             that would be necessary for Dr.
12                 concluding that temperature       Rosenfield to consider and
                   modeling performed in 2021        describe the temperature
13                 by NMFS “clearly                  modeling.
                   demonstrated that releasing
14
                   more water during the spring      First, ¶33 does not rely on or refer
15                 and summer led to higher          to any technical knowledge of the
                   river temperatures, higher        accuracy of Reclamation’s
16                 winter-run TDM, and lower         temperature modeling. Rather, the
                   end-of September storage.”        objected-to paragraph reflects Dr.
17                                                   Rosenfield’s opinion regarding the
                   FRE 702 requires “scientific,     effects of specific water
18
                   technical, or other specialized   temperatures on survival of
19                 knowledge” to opine on such       salmon, an issue on which he is
                   matters. This would include,      fully qualified to opine.
20                 for example, experience or
                   education in hydrology,           Dr. Rosenfield has more than 20
21                 hydraulics, water                 years of experience analyzing the
                   temperatures, and water           effects of Central Valley Project
22
                   resources planning and            and State Water Project operations
23                 management. Because Dr.           on salmon, including water
                   Rosenfield does not               temperature effects from reservoir
24                 demonstrate any level of          operations. Dkt. 82 ¶¶2–5. This
                   experience or education in this   includes experience regarding
25                 subject matter, he is not         Reclamation’s failure to
26                 qualified to offer opinions on    adequately model and manage
                   temperature modeling.             water temperatures at Shasta Dam,
27                 Therefore, these objections       see Supp. Rosenfield Decl. ¶41,
                   should be sustained and these     which does not require a degree in
28                 opinions should be                hydrology or hydraulics.
                           PLS.’ RESPONSE TO SAC. RIVER INTERVENORS’ OBJECTIONS TO EVIDENCE
                                                     2               CASE NO. 1:20-CV-00431-DAD-EPG
     Case 1:20-cv-00431-DAD-EPG Document 366 Filed 01/24/22 Page 4 of 7


 1                 disregarded.
                                                       Second, Dr. Rosenfield’s opinion
 2                                                     in ¶¶41–42 appropriately considers
 3                                                     the analyses and conclusions of the
                                                       National Marine Fisheries Service
 4                                                     (“NMFS”). This information from
                                                       NMFS is of the kind that experts
 5                                                     “would reasonably rely on . . . in
                                                       forming an opinion on the
 6
                                                       subject,” Fed. R. Evid. 703, and
 7                                                     Dr. Rosenfield’s declaration fully
                                                       discloses the basis for his
 8                                                     conclusions.

 9   Supp.         FRE 701, 702.                       SR Intervenors object to six          □ Sustained
     Rosenfield                                        paragraphs in which Dr.
10
     Decl. ¶¶18,   Dr. Rosenfield states his           Rosenfield cites or relies on a       □ Overruled
11   31, 33, 38–   agreement with a 2017 draft         public document that is admissible
     39, 42        Shasta RPA regarding the            evidence (as well as being a
12                 performance of Reclamation’s        document in the administrative
                   river temperature model.            record), and which describes the
13                 Again, Dr. Rosenfield is not        effects of Reclamation’s
14                 qualified to provide an             temperature management on
                   opinion on river temperature        salmon. The objection is not well-
15                 models. Dr. Rosenfield does         taken.
                   not state the facts, analysis, or
16                 methodology supporting his          First, as noted above, Dr.
                   conclusion that the draft 2017      Rosenfield has more than 20 years
17                 NMFS RPA correctly assesses         of experience analyzing the effects
18                 Reclamation’s river                 of Central Valley Project and State
                   temperature model. Moreover,        Water Project operations on
19                 Dr. Rosenfield is not entitled      salmon, including water
                   to rely on draft, non-peer          temperature effects from reservoir
20                 reviewed documents such as          operations. Dkt. 82 ¶¶2–5. He is
                   the 2017 NMFS RPA.                  more than able to review,
21                                                     understand, and explain to the
22                 Notably, Sacramento River           Court the content of NMFS’ draft
                   Intervenors asserted                2017 Shasta RPA.
23                 objections to the 2017 draft
                   Shasta RPA in response to a         Second, SR Intervenors assert that
24                 prior Rosenfield Declaration’s      Dr. Rosenfield is not “entitled” to
                   references to it and PCFFA          rely on the 2017 NMFS RPA,
25
                   Plaintiffs’ counsel’s               suggesting that because the RPA
26                 declaration attaching it. See       was not adopted by Reclamation,
                   Dkts. 127-3, at 5 and 190, at       there is some evidentiary bar to
27                 8-9. The Court noted the            relying on it or explaining its
                   Sacramento River                    content. That is not the case.
28                 Intervenors’ objection,             Indeed, the draft 2017 NMFS RPA
                           PLS.’ RESPONSE TO SAC. RIVER INTERVENORS’ OBJECTIONS TO EVIDENCE
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 1               clarifying: “However, here the        is included in the administrative
                 court is simply considering           record in this case, Dkt. 308; Dkt.
 2               the document as part of the           306-1, and it is admissible
 3               consultation history and              evidence, including as an
                 context, not for the truth of the     admission of a party opponent,
 4               matters addressed therein.”           Fed. R. Evid. 801(d)(2)(D).
                 Dkt. 203, at 8 n.5 in relation        Moreover, it is a final, public
 5               to PCFFA Dkt. 85-8 (the 2017          document and experts are
                 draft Shasta RPA). The                permitted to rely on government
 6
                 Sacramento River Intervenors          documents. (Indeed, experts may
 7               have since reiterated this            rely on documents that are not
                 objection in response to              admissible. See Fed. R. Evid.
 8               PCFFA Plaintiffs’ continued           703).
                 reliance on the objectionable
 9               material. See Dkt. 282, at 6-7.       Finally, the suggestion that Dr.
                                                       Rosenfield should not have
10
                                                       considered NMFS’s analysis
11                                                     because it was not peer-reviewed
                                                       is mistaken. An expert in Dr.
12                                                     Rosenfield’s field would
                                                       reasonably rely on the draft RPA
13                                                     that NMFS finalized and publicly
                                                       transmitted to Reclamation. Fed.
14
                                                       R. Evid. 703.
15

16                                                   Respectfully submitted,

17   Dated: January 24, 2022                         /s/ Barbara J. Chisholm                 .

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26   Dated: January 24, 2022                         /s/ Glen H. Spain                           .

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                                                      4                CASE NO. 1:20-CV-00431-DAD-EPG
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                                          Resources
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                      PLS.’ RESPONSE TO SAC. RIVER INTERVENORS’ OBJECTIONS TO EVIDENCE
                                           5               CASE NO. 1:20-CV-00431-DAD-EPG
     Case 1:20-cv-00431-DAD-EPG Document 366 Filed 01/24/22 Page 7 of 7


 1                                         PROOF OF SERVICE

 2    CASE:         Pacific Coast Federation of Fishermen’s Associations, et al. v. Raimondo, et al.

 3    CASE NO:      U.S. Dist. Ct., E.D. Cal., Case No. 1:20-cv-00431-DAD-EPG

 4          I am employed in the City and County of San Francisco, California. I am over the age of
 5    eighteen years and not a party to the within action; my business address is 177 Post Street, Suite
 6
      300, San Francisco, California 94108. I hereby certify that on January 24, 2022, I electronically
 7
      filed the following with the Clerk of the Court for the United States District Court for the Eastern
 8
      District by using the CM/ECF system:
 9

10
               PLAINTIFFS’ RESPONSE TO SACRAMENTO RIVER INTERVENORS’
                               OBJECTIONS TO EVIDENCE
11

12            All participants in the case are registered CM/ECF users and will be served by the

13    CM/ECF system.

14          I declare under penalty of perjury under the laws of the State of California that the
15
      foregoing is true and correct. Executed this 24th day of January, 2022, at Berkeley, California.
16

17                                                         /s/ Barbara J. Chisholm
                                                             Barbara J. Chisholm
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                                                                                    PROOF OF SERVICE
                                                     1               CASE NO. 1:20-CV-00431-DAD-EPG
